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                      Micah K. Nilsson, Esq. (SBN 250919)
                 2    Justin L. Thomas, Esq. (SBN 288590)
                      DO\ryLING AARON INCORPORATED
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                      Bakersfield, CA 93309
                 4    Telephone: 661 -716-3000
                      Email : dj ami son@ dowlin gaaron. com ; mnilsson@.dowlingaaron. com
                 5    j thomas@dowlingaaron. com


                 6    Attorney for Plaintiff, COREY MITCHELL

                 7

                 I                                I.INITED STATES DISTRICT COURT
                 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
                10

                11
                       COREY MITCHELL,                                  Case No. I : 13-cv-01 324-DAD-EPG
                t2                           Plaintiff,                 PLAINTIFF'S NOTICE OF MOTION AND
                13
                                                                        MOTION FOR ATTORNEY'S FEES
                       v
                t4                                                      DATE:                February 6,2018
                       CHAVEZ, ET AL                                    TIME:                8:00 a.m.
                15
                                             Defendants.                COURTROOM: 10
                                                                        Judge: Hon. Dale A. Drozd
                l6                                                      Magistrate Judge: Hon. Erica P. Grosjean
                                                                        Action Filed: 0812112013
                t7
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                                 PLAINTIFX''S NOTICE OF MOTION A¡{D MOTION FOR ATTORNEY'S F'EES
DOWLINGIAARON                                              I : l3-cv-01324-DAD-EPG
                   Case 1:13-cv-01324-DAD-EPG Document 194 Filed 01/09/18 Page 2 of 3



               1           TO ALL PARTIES AND THEIR ATTOR}IEYS OX'RECORD HEREIN:
               2           PLEASE TAKE NOTICE that on February 6,2018, at 8:00 a.m., or as soon thereafter as
               a
               J    this matter may be heard in Courtroom 10 of the above-entitled Court, Plaintiff will and hereby

               4    does move the Court by way of this Motion for Attorney's Fees for an award of $172,222.29 in

               5    attomeys' fees. Plaintiff makes this Motion under L.R. 293, Federal Rule of Civil and Procedure

               6    s4(dx2),42 U.S.C. $ 1988.

               7           This Motion is based on this Notice of Motion, the Memorandum of Points and
               I    Authorities, Declaration of Justin L. Thomas, Declaration of Daniel O. Jamison, the records and

               9    files of this Court, and upon such other oral and documentary evidence as may be presented at
           10       the time of the hearing.

           11

           T2       Dated: January 9,2018                              Respectfully Submitted,
           13                                                          DOV/LING AARON INCORPORATED
           t4
           15                                                       By: /s/ Justin L. Thomas
                                                                         Micah K. Nilsson
           t6
                                                                         Justin L. Thomas
           t7                                                            Attomeys for Plaintiff
                                                                         COREY MITCHELL
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"',y#Hgâî?e*                                                   2
                                PLAINTIF'F'S NOTICE OF MOTION AND MOTION FOR ATTORÌ\EY'S FEES
                                                                                              I : l3-cv-01324-DAD-EPG
                    Case 1:13-cv-01324-DAD-EPG Document 194 Filed 01/09/18 Page 3 of 3



                I
                                                         PROOT' OF' SER\rICE
                2
                a
                     STATE OF'CALIF'ORNIA            )
                J                                         SS
                                                     )
                     COUNTY OF'KERN                  )
                4
                            I am a citizen of the United States and a resident of the County aforesaid; I am over the
                5    age of eighteen (18) years and not a party to the within-entitled action. My business address is
                     Dowling Aaron Incorporated, 5080 California Avenue, Suite 340, Bakersfield, CA 93309. On
                6    January 9,2018,I served the within document(s):

                7                NOTICE OX'MOTION AND MOTION FOR ATTORNEY'S T'EES
                I X         BY ELECTRONIC CM/XCF SYSTEM: I hereby certiff that on January 9,2018,I
                            electronically filed the following document with the Clerk of the Court by using the
                9           CN{/ECF system:

            10       Gabrielle De Santis Nield                          Michael Anthony Terhorst
                     Edgar R. Nield                                     BEESON TERHORST, LLP
            11
                     NIELD LAV/ GROUP, APC                              510 Bercut Drive, Suite V
            12       \Mestlake Professional Center                      Sacramento, CA 9581 l-01 1 1
                     679 Encinitas Blvd, Suite 201                      For Defendant Sgt. Sheldon
            13       Encinitas, CA92024

            t4       For I)efendant Chavez

            15

            16
                     X       FEDERAL: I declare under penalty of perjury under the laws of the State of California
                     that the foregoing is true and correct.
            t7
                             I declare that I am employed in the office of a member of the bar of this court at whose
            t8       direction the service was made.

            t9       Executed on January 9,2018, at Bakersfield, California.
            20
                                                                 /s/ RhondaSandidse
            2l                                                   Rhonda Sandidge

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DOWLINGIAARON
                                PLAINTIFF'S NOTICE OF MOTION AND MOTION T'OR ATTORNEY'S FEES
                                                                                               I : 1 3-cv-0 I 324-DAD-EPG
